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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-CV-01942-MEH

  ROBERT JOHNSON,

         Plaintiff,

  v.

  TYLER SIMONSON, in his individual capacity;
  ST. MARY’S HOSPITAL & MEDICAL CENTER, INC., a Colorado nonprofit corporation; and
  HSS INC., a Colorado corporation,

         Defendants.


                      STIPULATED MOTION FOR PROTECTIVE ORDER
                            PURSUANT TO FED. R. CIV. P. 26(c)


         This is a motion for a protective order pursuant to FED. R. CIV. P 26(c) filed by counsel

  for Defendant HSS, Inc. (“HSS”), Hall & Evans, L.L.C., after consultation with counsel for

  each of the other parties. Each party stipulates to this motion and has approved the proposed

  order. The basis for this motion is as follows:

         1.      The incident which is the subject matter of this case occurred on August 12,

  2015, at St. Mary’s Medical Center in Grand Junction, Colorado (“St. Mary’s”). At the time,

  defendant HSS provided security services to St. Mary’s pursuant to a contract entitled,

  Healthcare Security Services Agreement with the Sisters of Charity of Leavenworth Health

  System, Inc. (“the contract”).

         2.      Section XII of the contract states that it is confidential and that other certain

  other materials must be maintained as confidential. Each page of the contract is designated as


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  “Confidential.” HSS asserts that the contract and the identified documents are confidential and

  that should this information be revealed outside the scope of this litigation it could result in

  injury to HSS’s privacy, business, or proprietary interests or to the interests of others, including

  St. Mary’s. No party objects; each stipulates to the proposed order.

         3.      Consistent with the Court’s Minute Order (Doc. #37), a mechanism to resolve

  any disputes as to confidentiality appears in paragraph 3 of the proposed order. An editable

  electronic version of the proposed order is being emailed to Magistrate Judge Hegarty’s

  chambers as directed byte Court’s Minute Order (Doc. #37).

         Accordingly, defendant HSS, joined by the other parties, respectfully requests that

  pursuant to FED. R. CIV. P 26(c) the Court enter the attached Proposed Protective Order.

         Dated this 15th day of December, 2017.

  Respectfully Submitted:


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  STIPULATED AND AGREED TO:


  s/ Eric M. Ziporin                                 s/ E. Milo Schwab
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                             CERTIFICATE OF SERVICE (CM/ECF)

         I hereby certify that on the 15th day of December, 2017, I electronically filed the
  foregoing MOTION FOR STIPULATED PROTECTIVE ORDER PURSUANT TO FED.
  R. CIV. P. 26(c) with the Clerk of Court using the CM/ECF system, which will send notification
  of such filing to the following e-mail addresses:

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                                                      s/ Tammi Huff




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